                      Case 1:21-cv-00202-LM Document 1-1 Filed 03/05/21 Page 1 of 5
     c     .. .

                                    THE STATE OF NEW HAMPSHIRE
                                                   JUDICIAL BRANCH                            J
                                                      SUPERIOR COURT
   Hillsborough Superior Court Northern District                                                  Telephone: 1-855-212-1234
   300 Chestnut Street                                                                        TTY/TDD Relay: (800) 735-2964
   Manchester NH 03101
                                                                                                http://www.courts.state.nh.us


                                          SUMMONS IN A CIVIL ACTION



  Case Name:                Donna Gabert v Dollar Tree Stores, Inc.
  Case Number:              216-2020-CV-00869

  Date Complaint Filed: December 10, 2020
  A Complaint has been filed against Dollar Tree Stores, Inc. in this Court. A copy of the Complaint is
  attached.

  The Court ORDERS that ON' OR BEFORE:
  January 28, 2021       Donna Gabert shall have this Summons and the attached Complaint
                         served upon Dollar Tree Stores, Inc. by in hand or by leaving a copy at
                         his/her abode, or by such other service as is allowed by law.
 February 18, 2021       Donna Gabert shall electronically file the return(s) of service with this
                         Court. Failure to do so may result in this action being dismissed without
                         further notice.
 30 days after Defendant Dollar Tree Stores, Inc. must electronically file an Appearance and Answer
 is served               or other responsive pleading form with this Court. A copy of the
                         Appearance and Answer or other responsive pleading must be sent
                         electronically to the party/parties listed below.
 Notice to Dollar Tree Stores, Inc.: If you do not comply with these requirements you will be
 considered in default and the Court may issue orders that affect you without your input.
 Send copies to:
  Ray Raimo, ESQ                               Raimo & Gallagher PC 62 Stark St Manchester NH 03101
  Dollar Tree Stores, Inc.                     500 Volvo Parkway Chesapeake VA 23320
                                                                     BY ORDER OF THE COURT

December 14, 2020                                                    W. Michael Scanlon
                                                                     Clerk of Court
 (126849)




NHJB-2678-Se (07/01/2018)
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         Case 1:21-cv-00202-LM Document 1-1 Filed 03/05/21 Page 2 of 5                          ffie Uate: 72I9Ul2U2U 9:3
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                                  THE STATE OF NEW HAMPSHIRE


HILLSBOROUGH, SS.                                                               SUPERIOR COURT
NORTHERN DISTRICT




                                               )
Donna Gabert,                                  )                         216-2020-CV-00869
                              Plaintiff        )                 No.
                                               )
              V.                               )                 CIVIL ACTION
                                               )
Dollar Tree Stores, Inc.,                      )                 JURY TRIAL DEMANDED
                             Defendant         )
                                               )


                                               COMPLAINT


                                                   Parties
  1. The plaintiff resides at 11 Barr Street, Unit 1, Manchester, NH 03102.

  2. The defendant, Dollar Tree Stores, Inc., is a Virginia Corporation with principle
                                                                                       office at
     500 Volvo Parkway, Chesapeake, VA 23320 and at all times material to this
                                                                                    action,
     through its agents, employees and affiliates was engaged in retail business at
                                                                                      Dollar
     Tree Store #7155, located at 586 Valley Street, Manchester, NH 03103.

                                      Jurisdiction and Venue

 3. This Court has jurisdiction over this matter pursuant to NH RSA 491:7.

 4. Venue is proper in this Court pursuant to NH RSA 507:9.

                                                   Facts
 5. On or about January 28, 2018, in the afternoon, the plaintiff was on
                                                                         the premises of the
    defendant for the purpose of purchasing various items. While on the premises of
                                                                                       the
    defendant's store the plaintifP, suddenly and without warning, slipped on a substance
                                                                                           on
    the walkway and fell violently.

6. Dollar Tree Stores, Inc. had a duty to use reasonable care under all
                                                                        the circumstances
   in the maintenance and operation of the store premises.




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     7. The defendant had a duty to maintain the store premises in a reasonably.safe condition.

     8. The defendan# had a duty to exercise reasonable care to prevent slippery material from
        accumulating and remaining on walkways on the premises.

     9. The defendant had a duty to exercise reasonable care in the maintenance of the
        premises such that the defendant, its agents and/or employees, knew, or should have
        known, that slippery material was present on the store walkway creating an
        unreasonable risk of harm to the plaintiff and other customers on the store premises.

    10.The defendant had a duty to warn the plaintiff of dangerous conditions on the store
       premises.

    11.Despite the duties aforesaid, and negligently, Dollar Tree Stores, Inc. failed to use
       reasonable care in the maintenance of the business premises, failed to maintain the
       store premises in a reasonably safe condition, allowed slippery rnaterial to remain on
      the premises causing an unreasonable risk of harm to the plaintiff, and failed to warn
      the pJaintiff of the dangerous condition, causing the plaintiff to fall and to suffer serious
      bodily injury.

    12.As a result of the defendant's breach of duty, the plaintiff suffered acute and permanent
       bodily injury, requiring her to incur medical expenses, to lose wages, and to endure
      great pain and suffering, now and in the future.

                                             Damages
   13.The plaintiff claims damages within the jurisdictional limits of this Court.

                                             Jury TPiaO
   14.The plaintiff requests a jury trial.

                                                          Respectfully submitted
                                                          DONNA GABERT
                                                          By HER Attorney:




Date: December 10, 2020
                                                          RAY RAIMO #2093
                                                          RAIMO & GALLAGHER, PC
                                                          62 STARK STREET
                                                          MANCHESTER, NH 03101
                                                          (603) 625-2152
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                                   THE STATE OF NEW HAMPSHIRE
                                                   JUDICIAL BRANCH
                                                    SUPERIOR COURT
   Hillsborough Superior Court Northern District                                   Telephone: 1-855-212-1234
   300 Chestnut Street                                                         TTY/TDD Relay: (800) 735-2964
   Manchester NH 03101
                                                                                  http://www.courts.state.nh.us

                                             NOTICE TO DEFENDANT
  Case Name:               Donna Gabert v Dollar Tree Stores, Inc.
  Case Number:             216-2020-CV-00869
  You have been served with a Complaint which serves as notice that this legal action has been filed
  against you in the Hillsborough Superior Court Northern District. Review the Complaint to see
  the basis for the Plaintiff's claim.               `
  Each Defendant is required to electronically file an Appearance and Answer 30 days after service.
  You may register and respond on any private or public computer. For your convenience, there is alsa
  a computer available in the courthouse lobby.
  If you are working with an attorney, they will guide you on the next steps. If you are going to
  represent yourself in this action, go to the court's website: www.courts.state.nh.us. select the
  Electronic Services icon and then select the option for a self-represented party.
         1. Complete the registration/log in process. Click Register and follow the prompts.
         2. After you register, click Start Now. Select Hillsborough Superior Court Northern District
             as the location.
          3. Select "I am filing into an existing case". Enter 216-2020-CV-00869 and click Next.
          4. When you find the case, click on the link and follow the instructions on the screen. On the
             "What would you like to file?" screen, select "File a Response to Civil Complaint". Follow
             the instructions to complete your filing.
          5. Review your Response before submitting it to the court.

 IMPORTANT: After receiving your response and other filings the court will send notifications and
 court orders electronically to the email address you provide.
 A person who is filing or defending against a Civil Complaint will want to be familiar with the Rules of
 the Superior Court, which are available on the court's website: www.courts.state.nh.us.
Once you have registered and responded to the summons, you can access documents electronically
filed by going to https://odypa.nhecourt.us/portal and following the instructions in the User Guide. In
that process you will register, validate your email, request access and approval to view your case.
After your information is validated by the court, you will be able to view case information and
documents filed in your case.


If you have questions regarding this process, please contact the court at 1-855-212-1234.




NHJB-2678-Se (07/01/2018)
           Case 1:21-cv-00202-LM Document 1-1 Filed 03/05/21 Page 5 of 5
                      Merrimack Coialnty Sheriff's Office
                                 ROBERT P. KRIEGER
                                333 Daniel Webster Hwy
                                 Boscawen, NH 03303
                                 Phone: 603-796-6600




DOLLAR TREE STORES, INC
10 FERRY ST 313
CONCORD, NH 03301




                          AFFIDAVIT OF SERVICE




    MERRIMACK, SS                                                 12/ ,YS   /2020




    I, DEPUTY GLENN E LARAMIE JR, on this date at             a.m. p.m.,
sumznoned the within named defendant DOLLAR TREE STORES, INC as within
commanded, by leaving at the office of Registered Agent Corporation Service
Company,.10 Ferry Street, Suite 313, Concord, said County and State of New
Hampshire, its true and lawful agent for service of.process under and by
virtue of CYiapt:er 293-A New Hampshire RSA, as amended, a t:)~ue and attested
copy of this Summons and Complaint.                                 -"


FEES

       Service     $25.00
       Postage       1.00
       Travel       15.00

TOTAL              $41.00




                                            .-/  DEPUTY GLENN E I
                                             Merrimack County She n,&f's Office

                                             i

                                             ~      A True C®py


                                                         Deputy
